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 1                                                               The Honorable Ricardo S. Martinez
 2

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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
     KATHLEEN HORNE,
 9                                                          No. 2:25-cv-00816-RSM
                                           Plaintiff,
10
                                                            DEFENDANTS CITY OF FEDERAL
                v.                                          WAY AND STEPHEN MCNEY'S
11
                                                            ANSWER TO COMPLAINT AND
     CITY OF FEDERAL WAY and STEPHEN
12   McNEY,                                                 AFFIRMATIVE DEFENSES
13                                     Defendants.          JURY DEMAND
14

15              Defendants, CITY OF FEDERAL WAY AND STEPHEN MCNEY, in answer to
16   KATHLEEN HORNE'S complaint, admit, deny and allege as follows:
17
                                      I.      NATURE OF THE CASE
18              1.1      Defendants admit Plaintiff was formerly an Administrative Assistant with
19   the City of Federal Way and that she has filed this lawsuit. Defendants deny the remainder
20   of the allegations contained in Paragraph 1.1.
21              1.2      Defendants admit Stephen McNey resigned from the City of Federal Way
22   and deny the remainder of the allegations contained in Paragraph 1.2.
23              1.3      Defendants deny the allegations contained in Paragraph 1.3.
24              1.4      Defendants admit that Plaintiff was terminated from the City of Federal and
25   deny the remainder of the allegations contained in Paragraph 1.4.
26

27
     DEFS' ANSWER TO COMPLAINT AND AFF.                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 1                                                                  ATTORNEYS AT LAW
     2:25-cv-00816-RSM                                                       1201 THIRD AVENUE, SUITE 1580
                                                                                   SEATTLE, WA 98101
     1002-02021/752075                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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                                              II.    PARTIES
 1
                2.1      Defendants admit that Plaintiff was employed with the City of Federal Way
 2
     for a period of time. Defendants lack knowledge as to her current residential address and
 3
     marital status. Defendants deny the remainder of the allegations contained in Paragraph 2.1
 4
     as they are legal conclusions.
 5
                2.2      Defendants admit that the City of Federal Way is a municipality located in
 6
     King County, Washington and that Plaintiff was employed with the City of Federal Way for
 7
     a period of time. Defendants deny the remainder of the allegations contained in Paragraph
 8
     2.2 as they are legal conclusions.
 9
                2.3      Defendants admit that Steven McNey was the City of Federal Way’s
10
     Intergovernmental and Public Affairs Officer for a period of time. Defendants deny Mr.
11
     McNey currently resides in Washington. Defendants deny the remainder of the allegations
12
     as they are legal conclusions.
13
                                   III.   JURISDICTION AND VENUE
14
                3.1      Defendants deny the allegations contained in Paragraph 3.1 as they are legal
15
     conclusions.
16
                3.2      Defendants deny that Stephen McNey resides in King County. Defendants
17
     admit the City of Federal Way is located in King County. Defendants deny the events and
18
     omissions occurred as pled. Defendants deny the remainder of the allegations contained in
19
     Paragraph 3.2 as they are legal conclusions.
20
                                               IV.     FACTS
21
                4.1      Defendants deny the date of termination stated and admit the remainder of
22
     allegations contained in Paragraph 4.1.
23
                4.2      Defendants admit that Stephen McNey resigned from the City of Federal
24
     Way in 2017 and was later rehired. Defendants deny the remainder of the allegations
25
     contained in Paragraph 4.2.
26
                4.3      Defendants deny the allegations contained in Paragraph 4.3.
27
     DEFS' ANSWER TO COMPLAINT AND AFF.                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 2                                                                  ATTORNEYS AT LAW
     2:25-cv-00816-RSM                                                       1201 THIRD AVENUE, SUITE 1580
                                                                                   SEATTLE, WA 98101
     1002-02021/752075                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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 1                       4.3.1   Defendants deny the allegations contained in Paragraph 4.3.1.

 2                       4.3.2   Defendants deny the allegations contained in Paragraph 4.3.2.

 3                       4.3.3   Defendants deny the allegations contained in Paragraph 4.3.3.

 4                       4.3.4   Defendants deny the allegations contained in Paragraph 4.3.4.

 5                       4.3.5   Defendants deny the allegations contained in Paragraph 4.3.5.

 6                       4.3.6   Defendants deny the allegations contained in Paragraph 4.3.6.

 7                       4.3.7   Defendants deny the allegations contained in Paragraph 4.3.7.

 8                       4.3.8   Defendants deny the allegations contained in Paragraph 4.3.8.

 9                       4.3.9   Defendants deny the allegations contained in Paragraph 4.3.9.

10                       4.3.10 Defendants deny the allegations contained in Paragraph 4.3.10.

11                       4.3.11 Defendants deny the allegations contained in Paragraph 4.3.11.

12                       4.3.12 Defendants deny the allegations contained in Paragraph 4.3.12.

13                       4.3.13 Defendants deny the allegations contained in Paragraph 4.3.13.

14                       4.3.14 Defendants deny the allegations contained in Paragraph 4.3.14.

15                       4.3.15 Defendants deny the allegations contained in Paragraph 4.3.15.

16                       4.3.16 Defendants deny the allegations contained in Paragraph 4.3.16.

17                       4.3.17 Defendants deny the allegations contained in Paragraph 4.3.17.

18              4.4      Defendants deny the allegations contained in Paragraph 4.4.

19                       4.4.1   Defendants deny the allegations contained in Paragraph 4.4.1.

20                       4.4.2   Defendants deny the allegations contained in Paragraph 4.4.2.

21                       4.4.3   Defendants deny the allegations contained in Paragraph 4.4.3.

22                       4.4.4   Defendants deny the allegations contained in Paragraph 4.4.4.

23                       4.4.5   Defendants deny the allegations contained in Paragraph 4.4.5.

24                       4.4.6   Defendants deny the allegations contained in Paragraph 4.4.6.

25              4.5      Defendants deny the allegations contained in Paragraph 4.5.

26              4.6      Defendants admit the allegations contained in Paragraph 4.6.

27
     DEFS' ANSWER TO COMPLAINT AND AFF.                             KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 3                                                                   ATTORNEYS AT LAW
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     1002-02021/752075                                                             PHONE: (206) 623-8861
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 1              4.7      Defendants admit records produced in response to the Public Records Act

 2   request speak for themselves and that attorney client privilege may apply. Defendants lack

 3   knowledge sufficient to form a belief as to the truth of Plaintiff’s counsel’s “faith and

 4   belief” and therefore deny the same. Defendants deny the remainder of the allegations

 5   contained in Paragraph 4.7.

 6              4.8      Defendants admit records produced in response to the Public Records Act

 7   request speak for themselves and that attorney client privilege may apply. Defendants lack

 8   knowledge sufficient to form a belief as to the truth of the remainder of the allegations

 9   contained in Paragraph 4.8 and therefore deny the same.

10              4.9      Defendants admit the allegations contained in Paragraph 4.9.

11              4.10     Defendants admit that Ms. Audett’s notes speak for themselves and deny the

12   remainder of the allegations contained in Paragraph 4.10.

13              4.11     Defendants admit that Ms. Audett’s notes speak for themselves and deny the

14   remainder of the allegations contained in Paragraph 4.11.

15              4.12     Defendants currently lack information sufficient to form a belief as to the

16   truth of the allegations contained in Paragraph 4.12 and therefore deny the same.

17              4.13     Defendants admit Stephen McNey resigned from the City of Federal Way;

18   Defendants currently lack knowledge sufficient to form a belief as to the contents of Public

19   Records Act responses reviewed by Plaintiff’s counsel and therefore deny the same.

20              4.14     Defendants admit the City cannot compel former employees to participate in

21   workplace investigations and deny the remainder of the allegations contained in paragraph

22   4.14.

23              4.15     Defendants admit the published news article speaks for itself and deny the

24   remainder of the allegations contained in Paragraph 4.15.

25              4.16     Defendants deny the allegations contained in Paragraph 4.16.

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     DEFS' ANSWER TO COMPLAINT AND AFF.                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 4                                                                  ATTORNEYS AT LAW
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 1              4.17     Defendants currently lack knowledge sufficient to form a belief as to the

 2   truth of the allegations contained in the first sentence of Paragraph 4.17 and therefore deny

 3   the same. Defendants admit the remainder of the allegations in Paragraph 4.17.

 4              4.18     Defendants admit a meeting occurred between Ms. Audett and Ms. Horne on

 5   May 1, 2023 and deny the remainder of the allegations contained in Paragraph 4.18.

 6                       4.18.1 Defendants deny the allegations contained in Paragraph 4.18.1.

 7                       4.18.2 Defendants deny the allegations contained in Paragraph 4.18.2.

 8                       4.18.3 Defendants deny the allegations contained in Paragraph 4.18.3.

 9                       4.18.4 Defendants deny the allegations contained in Paragraph 4.18.4.

10                       4.18.5 Defendants deny the allegations contained in Paragraph 4.18.5.

11                       4.18.6 Defendants deny the allegations contained in Paragraph 4.18.6.

12                       4.18.7 Defendants deny the allegations contained in Paragraph 4.18.7.

13                       4.18.8 Defendants deny the allegations contained in Paragraph 4.18.8.

14                       4.18.9 Defendants deny the allegations contained in Paragraph 4.18.9.

15                       4.18.10       Defendants deny the allegations contained in Paragraph

16   4.18.10.

17              4.19     Defendants deny the allegations contained in Paragraph 4.19.

18              4.20     Defendants currently lack knowledge sufficient to form a belief as to the

19   allegations contained in Paragraph 4.20 and therefore deny the same.

20              4.21     Defendants deny the allegations contained in Paragraph 4.21.

21              4.22     Defendants admit that the May 26, 2023 memorandum speaks for itself and

22   deny the remainder of the allegations contained in Paragraph 4.22.

23              4.23     Defendants deny the allegations contained in Paragraph 4.23.

24                                     V.      CAUSES OF ACTION
25              5.1      Defendants deny the allegations contained in Paragraph 5.1.

26              5.2      Defendants deny the allegations contained in Paragraph 5.2.

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     DEFS' ANSWER TO COMPLAINT AND AFF.                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 5                                                                  ATTORNEYS AT LAW
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                                      VI.     REQUEST FOR RELIEF
 1
                6.1      Defendants deny the request for relief in Paragraph 6.1.
 2
                6.2      Defendants deny the request for relief in Paragraph 6.2.
 3
                6.3      Defendants deny the request for relief in Paragraph 6.3.
 4
                6.4      Defendants deny the request for relief in Paragraph 6.4.
 5
                6.5      Defendants deny the request for relief in Paragraph 6.5.
 6
                6.6      Defendants deny the request for relief in Paragraph 6.6.
 7
                6.7      Defendants deny the request for relief in Paragraph 6.7.
 8

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                BY WAY OF FURTHER ANSWER and AFFIRMATIVE DEFENSE, Defendant
10
     states and alleges as follows:
11
                1.       MITIGATION OF DAMAGES:                  That if the Plaintiff suffered any
12
     damages, recovery therefore is barred by Plaintiff’s failure to mitigate said damages.
13
                2.       UNDUE HARDSHIP: that accommodation would have imposed an undue
14
     hardship on operation of Defendant’s business.
15

16                                          PRAYER FOR RELIEF

17              WHEREFORE, Defendants CITY OF FEDERAL WAY AND STEPHEN MCNEY
18   pray for the following relief:
19              1.       That Plaintiff’s complaint be dismissed with prejudice, and that Plaintiff take
20   nothing by her complaint;
21              2.       That Defendants be allowed their statutory costs and reasonable attorney
22   fees incurred herein; and
23              3.       For such additional relief the Court may deem just and equitable.
24                                       JURY TRIAL DEMANDED
25              The Defendants respectfully demand their right to a trial by jury in this matter.
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     DEFS' ANSWER TO COMPLAINT AND AFF.                              KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 6                                                                    ATTORNEYS AT LAW
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                                                                                     FAX: (206) 223-9423
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 1              DATED this 11th day of July 2025.

 2                                         KEATING, BUCKLIN & McCORMACK, INC., P.S.
 3
                                           By: /s/ Amanda Butler
 4                                            Amanda Butler, WSBA #40473
                                           Attorneys for Defendants
 5
                                           1201 Third Avenue, Suite 1580
 6
                                           Seattle, WA 98101
 7                                         Phone: (206) 623-8861
                                           Fax: (206) 223-9423
 8                                         Email: abutler@kbmlawyers.com

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     DEFS' ANSWER TO COMPLAINT AND AFF.                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 7                                                           ATTORNEYS AT LAW
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                                                                            FAX: (206) 223-9423
           Case 2:25-cv-00816-RSM            Document 8       Filed 07/11/25           Page 8 of 8




 1                                    CERTIFICATE OF SERVICE

 2              I hereby certify that on the below date, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4   the following:

 5              Attorneys for Plaintiff
                Joseph Shaeffer, WSBA #33273
 6              Adarsh Niranjan Parthasarathy, WSBA #62319
                MacDONALD HOAGUE & BAYLESS
 7
                705 Second Avenue, Suite 1500
 8              Seattle, WA 98104
                206-622-1604
 9              Email: Joe@mhb.com
                adarshp@mhb.com
10

11
     and I hereby certify that I have mailed by United States Postal Service the document to the
12
     following non-CM/ECF participants: N/A.
13
     DATED: July 11, 2025
14

15                                                    /s/ Amanda Butler
                                                      Amanda Butler, WSBA #40473
16

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     DEFS' ANSWER TO COMPLAINT AND AFF.                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     DEFENSES - 8                                                                  ATTORNEYS AT LAW
     2:25-cv-00816-RSM                                                       1201 THIRD AVENUE, SUITE 1580
                                                                                   SEATTLE, WA 98101
     1002-02021/752075                                                            PHONE: (206) 623-8861
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